       Case 4:25-cv-00150-RGE-WPK             Document 30       Filed 06/16/25      Page 1 of 4




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF IOWA
                                      CENTRAL DIVISION


  DENNIS DONNELLY, on behalf of himself
  and all others similarly situated,
                                                         Case No. 4:25-cv-150-RGE-WPK
              Plaintiff,

  v.                                                     DES MOINES REGISTER &
                                                         TRIBUNE CO. AND GANNETT CO.,
  DES MOINES REGISTER AND TRIBUNE                        INC.’S UNOPPOSED MOTION FOR
  CO., INC., J. ANN SELZER, an individual,               LEAVE TO FILE OVERLENGTH
  SELZER & COMPANY, and GANNETT CO.,                     BRIEF IN SUPPORT OF THEIR
  INC.,                                                  MOTION TO DISMISS

              Defendants.


         Defendants Des Moines Register & Tribune Co. and Gannett Co., Inc. (collectively “Press

Defendants”), by and through their undersigned counsel and pursuant to Local Rule 7(h),

respectfully request leave to file a Brief in support of their Motion to Dismiss in excess of the

twenty-page limit set forth in the Local Rules. Press Defendants have conferred with the Parties,

and no Party opposes this Motion. In support of this Motion, Press Defendants state as follows:

         1.        The Amended Complaint, which is brought by Plaintiff on behalf of a putative class

against four Defendants, spans 218 paragraphs across 40 pages and contains claims for violation

of the Iowa Consumer Fraud Act, fraudulent misrepresentation, negligent misrepresentation,

professional malpractice, interference with the right to vote, and civil conspiracy. (ECF No. 22.)

Plaintiff’s claims also implicate important First Amendment principles.

         2.        Local Rule 7(h) provides that the maximum length of a brief is twenty pages unless

the Court grants leave to file an overlength brief.




                                                   1
    Case 4:25-cv-00150-RGE-WPK                Document 30     Filed 06/16/25      Page 2 of 4




       3.      In light of the numerous parties involved and the complexity and importance of the

issues raised by the Amended Complaint and in the Motion to Dismiss, Press Defendants require

additional pages to fully develop the legal arguments.

       4.      Good cause thus exists for Press Defendants to file an overlength Brief in support

of their Motion to Dismiss.

       5.      Press Defendants respectfully submit that the interests of justice will be served by

permitting the filing of this overlength Brief and that no party will be prejudiced by granting this

Motion.

       6.      Press Defendants therefore respectfully seek leave of the Court to file an overlength

Brief in support of their Motion to Dismiss.

       7.      Counsel for Press Defendants have conferred with counsel for Plaintiff, and counsel

for Plaintiff does not oppose this request.

       8.      In accordance with Local Rule 7(h), Press Defendants have attached their proposed

Brief as “Exhibit A.”

       WHEREFORE, for the foregoing reasons, Press Defendants respectfully request that this

Court enter an Order granting them leave to file an overlength Brief in support of their Motion to

Dismiss, and that the Clerk of Court detach, file, and docket the attached document.




                                                 2
   Case 4:25-cv-00150-RGE-WPK   Document 30    Filed 06/16/25    Page 3 of 4




Dated June 16, 2025              FAEGRE DRINKER BIDDLE & REATH LLP

                                 /s/ Nick Klinefeldt
                                 Nicholas A. Klinefeldt, AT0008771
                                 David Yoshimura, AT0012422
                                 801 Grand Avenue, 33rd Floor
                                 Des Moines, IA, 50309
                                 Telephone: (515) 248-9000
                                 Fax: (515) 248-9010
                                 Email: nick.klinefeldt@faegredrinker.com
                                        david.yoshimura@faegredrinker.com

                                 ATTORNEYS FOR DEFENDANTS DES
                                 MOINES REGISTER AND TRIBUNE
                                 COMPANY AND GANNETT CO., INC.




                                   3
    Case 4:25-cv-00150-RGE-WPK              Document 30        Filed 06/16/25      Page 4 of 4




                                 CERTIFICATE OF SERVICE
       I certify that on June 16, 2025, I electronically filed the foregoing with the Clerk of Court

using the ECF system, which will send notification of such filing to all parties participating in the

Court’s electronic filing system.



                                                      /s/ Paulette Ohnemus
